      Case 1:15-cv-02184-RM-STV Document 6 Filed 10/06/15 USDC Colorado Page 1 of 1

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO


PRISON LEGAL NEWS, A PROJECT OF THE HUMAN                                      CASE NUMBER: 15-CV-2184-AP
RIGHTS DEFENSE CENTER
                                                                          AFFIDAVIT OF CORPORATE SERVICE
                  Plaintiff(s)
v.

FEDERAL BUREAU OF PRISONS

                  Defendant(s)




I, William Stevens, being first duly sworn under oath, depose and say the following:

I am over the age of 18 and competent to sign this affidavit. I have personal knowledge of the facts and statements
contained herein, and they are true and correct to the best of my knowledge. I am not a party in this matter, and I have no
interest in the outcome of this case. I am familiar with the process serving laws governing service of process, and I have
never been convicted of a felony.

On October 02, 2015 at approximately 3:21 PM, Elite Legal Services received the within SUMMONS IN A CIVIL
ACTION; COMPLAINT; EXHIBITS A-F.

On October OS, 2015 at approximately 1:45 PM, I served the above documents on THE UNITED STATES
ATTORNEY'S OFFICE, DISTRICT OF COLORADO by leaving the documents with RYAN KIRSLOW, the
RECEPTIONIST & AUTHORIZED AGENT of THE UNITED STATES ATTORNEY'S OFFICE, DISTRICT
OF COLORADO. The approximate description of RYAN KIRSLOW is:

Sex: Male- Skin: Caucasian- Hair: Brown- Age: 20s- Height: 6'3" -Weight: 205 lbs

Service was effected at U.S. ATTORNEY'S OFFICE, 1225 17TH STREET SUITE 700, DENVER, CO 80202 in
DENVER county.



STATE OF COLORADO
COUNTY OF "'2) 12.ttl1ee
                                                                       X~~
                                                                       WhlialllStevens

Signed and sworn to before me on
this ,s- day of Oc.t'o&'ec              ,20~.




Notary Public
                    ~~m••esesea.-.-t       ..•••••.__.....
                                      KASHEN MATHERS
                                         NOTARY PUBLIC
                                                              ._~
                                       STATE OF COLORADO
Elite Legal Services                  NOTARY 10 20104013717            LEVINE SULLIVAN KOCH & SCHULZ, LLP
2755 S. Locust St. Suite 221     MY COMMISSION EXPIRESAPRIL26, 2018    1888 SHERMAN ST.
Denver, CO 80222                                                       SUITE 370
303-635-6934                                                           DENVER, CO 80203
                                                                       Requestor: MARLA KELLEY
Client Reference Number: 90131-001                                     303-376-2405
Lawyer Reference Number: 90131-001
ELS Number: 40431
